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                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS
                          BOSTON DIVISION
                     CASE NO: 1:17CR10265-01
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Respondent                                                       -i:::0         N        c.nm
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SALLY ANN JOHNSON,
                                                                                  ""
Petitioner




MOTION REQUESTING REDUCTION PURSUANT TO 18 USC§ 3582(c) FOR
               ANKLE MONITORING-HOME DETENTION
            PRIOR TO FEDERAL INCARCERATION


     COMES NOW, petitioner, Ms. Sally Ann Johnson, prose, humbly

and respectfully requesting that this Honorable Court, pursuant

to 18 USC§ 3582(c) and the United States Sentencing Guidelines:

5C1.1 Part C-Imprisonment: that the Honorable Judge Casper reduce

petitioner's current term of incarceration for time spent on ankle

monitoring.   Petitioner was monitored via the global monitoring

system from January 17, 2018 through February 28, 2018.

     Prose litigant(s) pleadings are to be held to a less strin-

gent standard than formal pleadings drafted by lawyers.           If the

Court articulates that the litigant could be entitled to relief,

it should move in a favorable manner towards the defendant in do-

ing so.   HAINES v. KERNER, 30 LED 2D 652, 404       us s.   ct., 519.
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                    FACTS TO SUPPORT YOUR HONOR'S
               DISCRETION FOR GRANTING REDUCTION

      Pursuant to the First Step of 2018; the United States Sen-

 tencing Guidelines definition of Imprisonment has been expanded.

 Section 504 of the First Step Act has added Home Confinement under

 section 5F1.1 as a means to satisfy a term of imprisonment.            Pur-

 suant to Part C-Imprisonment of the USSG      § 5C1.1 imposition of a
Term of Imprisonment (e) Schedule of Substitute Punishments,            (3)

One Day of Home Detention for One Day of Imprisonment.           The app-

lication notes for subsection (a) provides that a sentence con-

forms with the Guidelines for imprisonment if it is within the

minimum and maximum terms of the applicable guideline range speci-

fied in the Sentencing Table in Part A.

     The First Step Act of 2018 has in essence empowered the

Court to subsequently lower a term of incarceration if the defen-

dant has been successful on a term of Home Detention. Because

the USSG are advisory pursuant to UNITED STATES v. BOOKER,          (2005)

543 US 220, 160 L. Ed 2d 621, 125 S. Ct. 738; the ~553(a) fac-

tors can be applied more liberally when the Court finds compell-

ing circumstances on a case by case basis to do so.

     In the instant case, petitioner's Home Confinement eligi-

bility date without Your Honor's adjustment for the Forty-three

(43) days spent on Home Detention is October 30, 2019.          It is

within Your Honor's discretion to reduce petitioner's current

term of incarceration by Forty-three (43) days.        This reduc-

tion will adjust petitioner's Home Confinement eligibility date.

This in turn will allow petitioner to be released from the Bureau

                                2.
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 of Prisons custody sooner so that petitioner may be of assis-

 tance with a recent family hardship, which requires petitioner's

 mother to have the assistance of a care-giver.

      WHEREFORE, although petitioner has a Motion requesting Home

 Confinement before this Honorable Court; petitioner is prayerful

 that Your Honor will move to grant petitioner relief in some form

of either request.

                                                 Respectfully Submitted,




                     CERTIFICATE OF SERVICE

     This is to certify that I have served a true and correct
copy of the following: MOTION REQUESTING REDUCTION PURSUANT
                        TO 18 USC§ 3582(c) FOR ANKLE MONITORING
                        HOME DETENTION PRIOR TO FEDERAL CUSTODY

which was hand delivered to prison authorities on the grounds of
                                                                 0
the Federal Prison Camp, located in Alderson, WV on this t-J.t;-/7
day of June, 2019.

Mailed to the following address by placing in a sealed envelope
bearing sufficient postage to: United States Courthouse
                                ATTN: Honorable Judge Casper
                                Boston, MASS




Litigation is deemed FILED at the time it was delivered to prison
authorities. HOUSTON v. LACK, 101 L. Ed. 2d 245 (1988).


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